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                                  United States District Court
                                 Southern District of New York
Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

               Defendant.

____________________________/


           DECLARATION OF MEREDITH SCHULTZ IN SUPPORT OF
     PLAINTIFF’S MOTION TO ENFORCE THE COURT’S ORDER AND DIRECT
     DEFENDANT TO ANSWER DEPOSITON QUESTIONS FILED UNDER SEAL

         I, Meredith L. Schultz, declare that the below is true and correct to the best of my

knowledge as follows:

       1.      I am a associate with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s March 28, 2016

Order granting my Application to Appear Pro Hac Vice.

       2.      I respectfully submit this Declaration in Support of Plaintiff’s Motion to Enforce

the Court’s Order and Direct Defendant to Answer Deposition Questions Filed Under Seal.

       3.      Attached hereto as Sealed Composite Exhibit 1 are true and correct copies of

Excepts from the May 18, 2016 Deposition of                     .

       4.      Attached hereto as Sealed Composite Exhibit 2 are true and correct copies of

Excerpts from the June 24, 2016 Deposition of

         5.    Attached hereto as Sealed Composite Exhibit 3 are true and correct copies of

 Excerpts from the June 21, 2016 Deposition of Detective Joseph Recarey.

         6.    Attached hereto as Sealed Composite Exhibit 4 are true and correct copies of

 Excerpts from the June 10, 2016 Deposition of                   .
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        7.     Attached hereto as Sealed Composite Exhibit 5 are true and correct copies of

 Excerpts from the June 1, 2016 Deposition of John Alessi.

         8.    Attached hereto as Sealed Exhibit 6 is a true and correct copy of June 20, 2016

Order from Judge Sweet.

        9.     Attached hereto as Sealed Composite Exhibit 7 are true and correct copies of

 Excerpts from the July 22, 2016 Deposition of Ghislaine Maxwell.

10.    Attached hereto as Sealed Composite Exhibit 8 is a true and correct copy of Messages
Involving Defendant.




              I declare under penalty of perjury that the foregoing is true and correct.



                                             /s/ Meredith L. Schultz______________
                                             Meredith L. Schultz, Esq.
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Dated: July 29, 2016.

                                                Respectfully Submitted,

                                                BOIES, SCHILLER & FLEXNER LLP

                                            By: /s/ Meredith Schultz
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                                                 Meredith Schultz (Pro Hac Vice)
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 29th day of July, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served to all parties of record via transmission of the Electronic

Court Filing System generated by CM/ECF.

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                                                     /s/ Meredith L. Schultz
                                                         Meredith L. Schultz




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